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                                   7                                   UNITED STATES DISTRICT COURT

                                   8                                  NORTHERN DISTRICT OF CALIFORNIA

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                                         BRIAN KUTZA, et al.,
                                  10                                                        Case No. 18-cv-03534-RS
                                                        Plaintiffs,
                                  11
                                                 v.                                         ORDER RE DISMISSAL
                                  12
Northern District of California
 United States District Court




                                         WILLIAM-SONOMA, INC.,
                                  13
                                                        Defendant.
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                                  16          The parties have stipulated to a dismissal of the complaint “in its entirety with prejudice.”

                                  17   The effect of this stipulation is to dismiss the claims of the named plaintiffs with prejudice, and

                                  18   the claims of the putative class without prejudice. The case will be closed.

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                                  20   IT IS SO ORDERED.

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                                  22   Dated: September 3, 2020

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                                                                                        RICHARD SEEBORG
                                  24                                                    United States District Judge
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